Case 6:18-cv-02045-ACC-TBS Document 24-1 Filed 03/14/19 Page 1 of 8 PageID 220




                                                              Iwanski-McGregor-Gencor 38
Case 6:18-cv-02045-ACC-TBS Document 24-1 Filed 03/14/19 Page 2 of 8 PageID 221




                                                 Iwanski-McGregor-Gencor 39
Case 6:18-cv-02045-ACC-TBS Document 24-1 Filed 03/14/19 Page 3 of 8 PageID 222




                                                                                 Iwanski-McGregor-Gencor 40
     Case 6:18-cv-02045-ACC-TBS Document 24-1 Filed 03/14/19 Page 4 of 8 PageID 223



From:                McGregor, Lisa
Sent:                Thursday, March 30, 2017 3:47 PM
To:                  Miles, Larry
Subject:             RE: Lisa McGregor two year anniversary


HI Larry, 
 
It has been six months since I sent you this. 
 
Rob is off today and tomorrow so it has been difficult to call and talk to you about. 
 
Thank you  
 
Lisa McGregor 
Office: 407.290.6000  ext. 319 
Lmcgregor@gencor.com  /  Parts@gencor.com 
www.gencor.com 
 
5201 North Orange Blossom Trail, Orlando FL 32810  
 




                                                       
 
From: McGregor, Lisa  
Sent: Wednesday, October 26, 2016 12:53 PM 
To: Miles, Larry 
Subject: Lisa McGregor 
 
Hi Larry, 
 
I am following up with you about my raise and discuss your vision about my role in Parts Sales versus 
Management.  
You mentioned over a month ago that you are working on this.   
Let me know if you want to discuss in person or over the phone. 
 
I hope to have my final answer within the week. 
 
Thank you 

Lisa McGregor 

                                                              1


                                                                                         Iwanski-McGregor-Gencor 41
       Case 6:18-cv-02045-ACC-TBS Document 24-1 Filed 03/14/19 Page 5 of 8 PageID 224

Office: 407.290.6000  ext. 319 
Direct: 407.990.1053 
Lmcgregor@gencor.com  /  Parts@gencor.com 
www.gencor.com 
 
5201 North Orange Blossom Trail, Orlando FL 32810  



From: McGregor, Lisa
Sent: Wednesday, September 28, 2016 6:04 PM
To: Miles, Larry
Subject: Lisa McGregor two year anniversary

Hi Larry, 
 
For Fiscal Year 2016 the monthly goal is $845,833 or ($10,150,000/year).  
As of today, September 28th – we total $10,625.00 with two more business days to go. 

I am writing to discuss my role going forward as we approach my two year mark at Gencor.  As you may recall, 
when I joined Gencor I took the interim position of a sales representative in the parts department to help 
manage and meet customer’s needs for parts.  There was only Rob Iwanski in parts sales to handle the parts 
orders.  During those two years, parts sales at Gencor have increased from 2015 to over $10,625.00 and 
counting this year.  As you know, I have been the top sales representative nearly every month during the 
entire time that I have proudly represented Gencor.  With two years’ experience now at Gencor and seven 
years in the asphalt parts sales, I understand Gencor better and sales will continue to grow as we become 
more competitive.  This will come knowing how we compare to the other parts and plant industry leaders.  I 
can also offer more ways to market and promote parts with my BA Degree in Graphic Design and Marketing 
background.   
 
We have previously discussed my role in sales verses Parts Management.   I am happy working with my 
existing and prospective customers  and I still have the daily excitement to meet and exceed sales goals 
despite the challenges sales often presents.  At the same time, I also believe I could excel in a management 
role in the parts department (or perhaps a combined management/sales role).  

In my original job description dated on November 15, 2015, you state in paragraph seven..."As the lead 
member of the parts team your role will be to evaluate the current systems, pricing, availability, staffing and 
marketing of aftermarket parts with the ultimate objective and expanding the parts business for Gencor."  This 
is what I truly want to build and expand upon.  

Regardless of whether I remain in sales or assume a management position, I would like to meet with you to 
discuss my future role.  When I started at Gencor, I accepted a salary of $85,000, with the expectation that 
there would be performance‐based bonuses and cost of living expense raise to help with insurance increases, 
etc.  In addition, at that time, there was no discussion of a requirement to provide after‐hours and weekend 
customer service. I worked call every other week, from 5 pm to 8 am seven days a week for over a year and a 
half.  

Nevertheless, I have worked extremely long hours both selling products and providing customer service.  As 
noted above, parts sales have increased dramatically as a result of my work, contributing growth to Gencor’s 
bottom line and 2016 goals. 
                                                       2
                                                                                   Iwanski-McGregor-Gencor 42
       Case 6:18-cv-02045-ACC-TBS Document 24-1 Filed 03/14/19 Page 6 of 8 PageID 225

It has been two years now and I want consideration for a raise to compensate for annual cost of living 
expenses and on‐call or overtime pay.  At the same time, my share of healthcare costs has increased $1,200.00 
annually thereby I make less now than I did my first year.   

I believe an increase in compensation is well‐warranted.  I would like to see the sales force motivated by 
meeting and exceeding our monthly goals with annual or monthly performance based incentives. I want to see 
the sales force challenge to make outgoing calls and follow up on their customer quotes.  

Obviously, the amount of the compensation increase would depend on the role you see me playing moving 
forward. 
I would very much appreciate it if we could set a time to meet so I could get your thoughts on these issues.  
I know the fiscal year is approaching on October 1st.  
 
I would like to hear your ideas on how to move forward.  
Thank you for your time and consideration.  
 
Lisa McGregor 
Office: 407.290.6000  ext. 319 
Direct: 407.990.1053 
Lmcgregor@gencor.com  /  Parts@gencor.com 
www.gencor.com 
 
5201 North Orange Blossom Trail, Orlando FL 32810  
 




                                                       
         




                                                          3
                                                                                    Iwanski-McGregor-Gencor 43
Case 6:18-cv-02045-ACC-TBS Document 24-1 Filed 03/14/19 Page 7 of 8 PageID 226




                                       4
                                                           Iwanski-McGregor-Gencor 44
Case 6:18-cv-02045-ACC-TBS Document 24-1 Filed 03/14/19 Page 8 of 8 PageID 227




                                       5
                                                           Iwanski-McGregor-Gencor 45
